Case 2:04-cr-20313-SH|\/| Document 80 Filed 07/11/05 Page 1 of 2 Page|D 112

FHE BY ____ D.¢.
IN THE UNITED STATES DIS'I‘RICT COUR'Il

FoR THE wEsTERN DIsTRIcT oF TENNESSEE _
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UNITED sTATEs oF AMERICA, w %§§§§§G£gu"
vS_ No. 04-20313-Ma
DEREK BOBO.
Defendant.

 

ORDER GRANTING MOTION 'I‘O RESET SENTENCING

 

Before the court is defendant's June 28, 2005, unopposed
motion to continue the sentencing hearing Which is presently set
on July 15, 2005. -For good cause shown, the motion is granted.
The sentencing is reset to Thursday, July 28.r 2005, at 9:30 a.m.

It is so ORDERED this l/p(day of July, 2005.

JAK////sz__`

SAMUELL H. MAYS, JR.
UNI'I'E`.D STA'I‘ES DISTRICT JUDGE

 

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UNITED TEATS DISTRIC COURT - WERSTE D"RITICT 0 TENNESSEE

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Honorable Samuel Mays
US DISTRICT COURT

